         Case 1:19-cv-09236-KPF Document 229 Filed 08/31/22 Page 1 of 3




                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK

 DAVID LEIBOWITZ, BENJAMIN
 LEIBOWITZ, JASON LEIBOWITZ, AARON
 LEIBOWITZ, and PINCHAS GOLDSHTEIN,
                                                           CASE NO. 1:19-cv-09236-KPF
        Plaintiffs,

 v.

 IFINEX INC., BFXNA INC., BFXWW INC.,
 TETHER HOLDINGS LIMITED, TETHER
 OPERATIONS LIMITED, TETHER LIMITED,
 TETHER INTERNATIONAL LIMITED,
 DIGFINEX INC., PHILIP G. POTTER,
 GIANCARLO DEVASINI, LUDOVICUS JAN
 VAN DER VELDE, REGINALD FOWLER,
 CRYPTO CAPITAL CORP., and GLOBAL
 TRADE SOLUTIONS AG,

        Defendants.


                  NOTICE OF MOTION TO WITHDRAW AS COUNSEL

       PLEASE TAKE NOTICE that Kyle W. Roche, Esq. of Roche Freedman, LLP (“RF”)

respectfully moves the Court pursuant to Local Rule 1.4 to withdraw as one of the attorneys for

the Proposed Class. Mr. Roche is no longer involved in RF’s class action practice. Accordingly,

pursuant to Local Rule 1.4, Mr. Roche respectfully requests to no longer receive docketing

notifications via the ECF system. Mr. Roche also asks that the Court approve this withdrawal.

DATED: August 31, 2022                      Respectfully Submitted,


                                            ROCHE FREEDMAN LLP


                                            /s/ Kyle W. Roche
                                            Kyle W. Roche
                                            99 Park Avenue, 19th Floor
                                            New York, NY 10016
       Case 1:19-cv-09236-KPF Document 229 Filed 08/31/22 Page 2 of 3




                                      kyle@rochefreedman.com

                                      Interim Lead Counsel and Attorneys for Plaintiffs and
                                      the Proposed Class


SO ORDERED this _____ day of ____________, 2022.



_____________________________________________
HON. KATHERINE POLK FAILLA
UNITED STATES DISTRICT JUDGE




                                         2
         Case 1:19-cv-09236-KPF Document 229 Filed 08/31/22 Page 3 of 3




                                 CERTIFICATE OF SERVICE

       I hereby certify under penalty of perjury that on August 31, 2022, I authorized the

electronic filing of the foregoing with the Clerk of the Court using the CM/ECF system which will

send notification of such filing to counsel of record.


                                             /s/ Kyle W. Roche
                                             Kyle W. Roche




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